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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                        *
                                                *
       v.                                       * Criminal No. CCB-17-452
                                                *
THOMAS ALLERS                                   *
                                             *******
                                             ORDER

       No objection has been raised to providing an electronic copy of Thomas Allers’s

sentencing memorandum (ECF 34), which was not filed under seal, to Michael Bromwich, Esq.,

of Steptoe & Johnson, on the condition that he not copy, print, or further distribute the

memorandum. Accordingly, the Clerk’s Office is directed to provide the memorandum (ECF

34), including attached exhibits (ECF 34-1 through 34-19), electronically to Mr. Bromwich.

       So Ordered this _9th__ day of July, 2020.



                                                      ___/s/________________________
                                                      Catherine C. Blake
                                                      United States District Judge
